 Case 3:21-cv-00628-TJC-JRK Document 1 Filed 06/23/21 Page 1 of 13 PageID 1




                            UNITED STATES DISTRICT COURT
                             MIDDLE DISTRICT OF FLORIDA
                               JACKSONVILLE DIVISION

                                            CASE NO:
SAMANTHA RIZZOLO, on behalf of herself
and all others similarly situated,

       Plaintiff(s),
       v.

JOHNNY D’S BEACH BAR & GRILL, LLC, and
JOHN DAVIS, individually,
       Defendants.
                                      /
                  COLLECTIVE ACTION COMPLAINT FOR DAMAGES
                         AND DEMAND FOR JURY TRIAL

       Plaintiff, SAMANTHA RIZZOLO (“Plaintiff”) on behalf of herself and others similarly

situated, files this Collective Action Complaint and Demand for Jury Trial against Defendants,

JOHNNY D’S BEACH BAR & GRILL, LLC (“Johnny D’s”) and JOHN DAVIS (“DAVIS”)

individually (Johnny D’s and Davis collectively referred to hereinafter as “Defendants”), for

failure to pay federal minimum and overtime wages for certain hours worked to all Restaurant

Servers and Bartenders (hereinafter “the Collective” or “class members”) as specified herein,

pursuant to 29 U.S.C. § 216(b), as follows:

                                          INTRODUCTION

       This is a Fair Labor Standards Act (“FLSA”) collective action brought on behalf of

Restaurant Servers and Bartenders who work or have worked at Johnny D’s Beach Bar & Grill in

Flagler Beach, Florida. Defendants unlawfully deprived Plaintiff, and all others similarly situated,

of applicable federal minimum wages during the course of their employment. Defendants have

violated the minimum wage requirements under federal law by failing to pay applicable federal
 Case 3:21-cv-00628-TJC-JRK Document 1 Filed 06/23/21 Page 2 of 13 PageID 2




minimum wage to all Restaurant Servers and Bartenders for certain hours worked during a shift.

As a result, Plaintiff, and similarly situated Restaurant Servers and Bartenders have been denied

federally mandated minimum wages in one or more workweeks during their employment.

Moreover, Defendants enforced a company-wide policy that required Restaurant Servers and

Bartenders to use a portion of their tips and wages to pay for “walk-outs” and otherwise contribute

payments for a kick-back benefit to the employer such that these wages and tips were not free-

and-clear. These company-wide kick-back policies became unlawful on March 23, 2018. Plaintiff

and similarly situated Restaurant Servers are therefore entitled to recover the tip credit taken by

Defendants and any and all tips that were retained by Defendants during this time period. During

one or more workweeks within the relevant time period, Defendants also required Plaintiff and

similarly situated Servers and Bartenders to clock-out while still performing a substantial amount

of work off-the-clock. This off-the-clock work pushed the total number of hours worked by

Plaintiff and similarly situated individuals over forty (40) in one or more workweeks during the

relevant time period. This action has been filed to cure and correct certain minimum and overtime

wage violations committed at Johnny D’s, on behalf of all Restaurant Servers and Bartenders who

worked for Defendant within the last three (3) years.

                                            PARTIES

        1.     During all times material hereto, Plaintiff was a resident of Flagler County, Florida,

over the age of 18 years, and otherwise sui juris.

        2.     Plaintiff and the class members are/were Restaurant Bartenders and Servers who

worked for Defendants within the last three (3) years in Flagler Beach, Florida.

        3.     Plaintiff worked as a Bartender for Defendants from approximately 2016 until May

2020.




                                                 2
 Case 3:21-cv-00628-TJC-JRK Document 1 Filed 06/23/21 Page 3 of 13 PageID 3




       4.      The proposed class members worked for Defendants in a similar capacity as

Plaintiff in that they were Restaurant Bartenders and/or Servers for Defendant during the relevant

time period and shared the same duties and responsibilities and were subject to the same unlawful

pay policies enforced by Defendants.

       5.      Plaintiff and the proposed class members were subjected to similar violations of

federal law. Plaintiff seeks certification under 29 U.S.C. § 216(b) of three (3) classes of Restaurant

Bartenders and Servers. The first proposed class consists of the following Servers and Bartenders:

               All Restaurant Servers and Bartenders who worked for Johnny
               D’s Beach Bar & Grill in Flagler Beach, Florida, during the
               three (3) years preceding this lawsuit who were required to work
               off-the-clock and did not receive the full applicable minimum
               wage for this work.

       6.      Plaintiff also seeks certification under 29 U.S.C. § 216(b) of the following class of

Servers and Bartenders:

               All Restaurant Servers and Bartenders who worked for Johnny
               D’s Beach Bar & Grill in Flagler Beach, Florida, during the
               three (3) years preceding this lawsuit who, after March 23, 2018,
               were required to use a portion of their wages and tips to pay for
               “walk-outs,” breakages, or other cash register shortages.

       7.      Plaintiff further seeks certification under 29 U.S.C. § 216(b) of the following class

of Servers and Bartenders:

               All Restaurant Servers and Bartenders who worked for Johnny
               D’s Beach Bar & Grill in Flagler Beach, Florida, during the
               three (3) years preceding this lawsuit who, worked in excess of
               forty (40) hours in one or more workweeks and were not
               compensated for these at the applicable overtime rates.

       8.      The precise size and identity of each class above should be ascertainable from the

business records, tax records, and/or employee or personnel records of Defendant; however,




                                                  3
    Case 3:21-cv-00628-TJC-JRK Document 1 Filed 06/23/21 Page 4 of 13 PageID 4




Plaintiff estimates that the total number of class members could exceed 40 Restaurant Servers and

Bartenders.1

         9.    During all times material hereto, Defendant, JOHNNY D’s BEACH & BAR

GRILL, LLC, was a Florida limited liability company operating and transacting business within

Flagler County, Florida, within the jurisdiction of this Honorable Court.

         10.   During all times material hereto, Defendant, DAVIS, was a resident of the Middle

District of Florida, and owner/operator of Johnny D’s.

         11.   On information and belief, Defendants, DAVIS and JOHNNY D’s BEACH & BAR

GRILL, LLC, controls and directs the operations of Johnny D’s located at 319 Moody Blvd. in

Flagler Beach, Florida.

         12.   According to its website, Johnny D’s is open to the public seven (7) days a week

from 11:00 a.m. until 2:00 a.m. each day. See www.johnnydsbeachbar.com (last visited June 17,

2021).

         13.   A true and accurate photo of the outside of Johnny D’s is below:




1 On information and belief, Defendant employs an average of roughly 20 Restaurant Servers and
Bartenders at any given time for a total of approximately 40 Restaurant Servers over the past three
years. On information and belief, given the turnover rate of employees in the restaurant industry,
it is entirely reasonable to infer that Defendant has employed at least 30-40 servers annually at the
location in each of the past three (3) years prior to the filing of this lawsuit.

                                                 4
 Case 3:21-cv-00628-TJC-JRK Document 1 Filed 06/23/21 Page 5 of 13 PageID 5




          14.   Defendant were Plaintiff’s employer during all times pertinent to the allegations

herein.

          15.   During all times material hereto, Defendant, DAVIS, was vested with the ultimate

control and decision-making authority over the hiring, firing, scheduling, day-to-day operations,

and pay practices of the restaurant during the relevant time period.

                                 JURISDICTION AND VENUE

          16.   This action is brought under 29 U.S.C. § 216(b) to recover damages from

Defendant, injunctive relief, and reasonable attorney’s fees and costs.

          17.   A substantial amount of the acts and omissions giving rise to this dispute took place

within Flagler County, Florida, which falls within the jurisdiction of this Honorable Court.

          18.   Defendants regularly transact business in Flagler County, Florida, and jurisdiction

is therefore proper.

          19.   Venue is also proper within Flagler County, Florida.

                                       FLSA COVERAGE

          20.   Defendant, JOHNNY D’S, is an enterprise covered by the FLSA by virtue of the

fact that it is an enterprise engaged in commerce or in the production of goods for commerce, in

that Defendant had at least two employees engaged in commerce or in the production of goods for

commerce, or employees handling, selling, or otherwise working on goods or materials that have

been moved in or produced for commerce by any person.

          21.   Defendant’s employees handled goods such as napkins, pickles, pretzels, stromboli,

blue cheese crumbles, sauerkraut, beer bottles, liquor bottles, ground beef, appliances, fish,

lemons, limes, cherries, onion rings, baked potatoes, salad, glassware, flatware, food items,




                                                  5
 Case 3:21-cv-00628-TJC-JRK Document 1 Filed 06/23/21 Page 6 of 13 PageID 6




restaurant equipment, chairs, tables, vacuum cleaners, and other materials that had previously

travelled through commerce.

       22.     At all material times (during the last three years), Defendant had an annual gross

revenue in excess of $500,000.00 in 2018, 2019, 2020 and is expected to gross in excess of

$500,000.00 in 2021.

                                 GENERAL ALLEGATIONS

       23.     Johnny D’s offers beach front dining and drinking experiences to patrons in Flagler

Beach, Florida.

       24.     Johnny D’s employs Restaurant Servers and Bartenders who provide quality

customer service to dining and drinking patrons in the bar and restaurant.

       25.     Defendants hired Plaintiff to work as a Bartender in approximately 2016.

       26.     Plaintiff and other Restaurant Servers and Bartenders employed at Johnny D’s are

non-exempt hourly employees under the Fair Labor Standards Act (“FLSA”).

       27.     During the relevant time period, Defendants paid Plaintiff and the Restaurant

Servers and Bartenders less than the full applicable federal minimum wage for each hour worked

at Johnny D’s. In doing so, the Defendants attempted to take the tip credits that are provided under

the FLSA.

       28.     After successfully completing the training period, Plaintiff and all other similarly

situated individuals at Johnny D’s would typically be scheduled to work shifts that start at 10:30

a.m. and lasted on average until 4:30 a.m. in the evening. However, depending on the day, on

multiple occasions, Plaintiff and other Restaurant Servers and Bartenders were required to stay

and work much later until 5:00 a.m.




                                                 6
 Case 3:21-cv-00628-TJC-JRK Document 1 Filed 06/23/21 Page 7 of 13 PageID 7




       29.     Throughout Plaintiff’s employment, Defendant would instruct Plaintiff and all

other similarly situated Servers and Bartenders at Johnny D’s to spend approximately one (1) hour

preparing their seating sections and/or bars which included setting up silverware, setting up and

polishing glassware, setting tables with, and attending to other duties and responsibilities to ensure

a quality dining experience for customers.

       30.     Plaintiff and similarly situated individuals were instructed to clock-in to receive the

“tipped wage” during this time.

       31.     At the conclusion of a shift, Plaintiff and similarly situated individuals were

instructed to clock-out by no later than 3:00 a.m. Plaintiff and similarly situated individuals then

spent a minimum of another hour to hour-and-a-half cleaning up their assigned sections.

       32.     After successfully completing her training period, in 2016 Plaintiff was paid $5.03

for certain hours she worked during her Bartender shifts.

       33.     As a result, Plaintiff and the class members are entitled to receive the full federal

minimum wage for the time spent each shift performing “off-the-clock” work.

       34.     Plaintiff and the class members worked without being paid the full minimum wage

for hours worked.

       35.     The work performed by Plaintiff and the class members was an integral part of the

business for Defendants.

       36.     Defendants violated the Fair Labor Standards Act (“FLSA”) by not paying Plaintiff

and the putative class members, at least federal minimum wage for all hours worked.

       37.     The additional persons who may become Plaintiffs in this action are Restaurant

Servers and Bartenders similarly situated to Plaintiff and who suffered from the same pay practices

of not being properly paid at least federal minimum wage for each hour worked.




                                                  7
 Case 3:21-cv-00628-TJC-JRK Document 1 Filed 06/23/21 Page 8 of 13 PageID 8




       38.       Upon information and belief, the records, to the extent any exist, concerning the

number of hours and amounts paid to Plaintiff and class members are in the possession and custody

of Defendants.

       39.       Plaintiff has complied with pre-suit notice, and all other conditions precedent to

this action have been performed or waived.

                                         CLASS ALLEGATIONS

       40.       Class members are treated equally and similarly by Defendants, in that they were

denied full and proper federal minimum wages for work they performed.

       41.       Defendants employed dozens of Restaurant Servers and Bartenders who were not

paid federal minimum wage for the work performed in one or more workweeks within the past

three (3) years.

       42.       Class members are also treated equally and similarly by Defendants, in that after

March 23, 2018, they were required to use a portion of their tips and wages earned on their shift

to cover cash register shortages and walk-outs.

       43.       As a result, class members were required to use the wages they earned to pay for

these costs which conferred a benefit to their employer.

       44.       Plaintiff and the class members were subject to the same policies.

       45.       Plaintiff and the class members at Johnny D’s performed the same job duties, as

Restaurant Servers and Bartenders, and were paid in an identical manner by Defendants.

       46.       Plaintiff and the class members were not paid proper federal minimum wage for all

of the hours worked in one or more workweeks.

       47.       Defendant failed to keep accurate time and pay records for Plaintiff and all class

members to designate how hours were worked each workweek.




                                                  8
 Case 3:21-cv-00628-TJC-JRK Document 1 Filed 06/23/21 Page 9 of 13 PageID 9




        48.     Defendants were aware of the requirements of the FLSA, and the pertinent

regulations thereto, yet acted willfully in failing to pay Plaintiff and the class members in

accordance with the law.

        49.     As a result of Defendants’ intentional and willful failure to comply with the FLSA,

Plaintiff was required to retain the undersigned counsel and is therefore entitled to recover

reasonable attorney’s fees and costs incurred in the prosecution of these claims.

          COUNT I – FEDERAL MINIMUM WAGE VIOLATIONS – 29 U.S.C. § 206
                          Arising from Off-the-Clock Work

        50.     Plaintiff hereby re-alleges and re-avers Paragraphs 1 through 48 as though set forth

fully herein.

        51.     Plaintiff and all others similarly situated are/were entitled to be paid full federal

minimum wage for certain hours worked during their employment with Defendants.

        52.     Throughout Plaintiff’s employment, Defendants required Plaintiff and all others

similarly situated to work off-the-clock at the end of their shift.

        53.     Defendants failed to compensate Plaintiff and members of the putative class for this

work and therefore is not entitled to take the tip credit.

        54.     As a result, Plaintiff and the class members are entitled to receive the full federal

minimum wage for each hour worked.

        55.     Defendants willfully failed to pay Plaintiff and the class members the full minimum

wage for one or more weeks of work contrary to the FLSA.

        56.     As a direct and proximate result of Defendants’ deliberate underpayment of wages,

Plaintiff and the class members have been damaged in the loss of minimum wages for one or more

weeks of work during the employment with Defendants.




                                                   9
Case 3:21-cv-00628-TJC-JRK Document 1 Filed 06/23/21 Page 10 of 13 PageID 10




        57.     Defendants’ willful and/or intentional violations of entitle Plaintiff and the class

members to an additional amount of liquidated, or double, damages.

        58.     As a result of the violations alleged herein, Plaintiff was required to retain the

undersigned counsel and is therefore entitled to recover reasonable attorney’s fees and costs.

        WHEREFORE, Plaintiff, SAMANTHA RIZZOLO, respectfully requests that this

Honorable Court enter judgment in her favor and against Defendants, JOHNNY D’s BEACH BAR

& GRILL, LLC, and JOHN DAVIS, and award Plaintiff: (a) unliquidated minimum wages to be

paid by the Defendants jointly and severally; (b) an equal amount of liquidated damages to be paid

by the Defendants jointly and severally; (c) all reasonable attorney’s fees and litigation costs as

permitted under the FLSA; and any and all such further relief as this Court may deems just and

reasonable under the circumstances.

             COUNT II – UNLAWFUL TAKING OF TIPS – 29 U.S.C. § 203
Illegal Kickbacks Related to the Walk-Out Policy, Breakage Policy, and Register Shortages

        59.     Plaintiff hereby re-alleges and re-avers Paragraphs 1 through 48 as though set forth

fully herein.

        60.     Plaintiff and all other similarly situated individuals customarily received tips as part

of their compensation during their employment with Defendants.

        61.     Pursuant to 29 U.S.C. § 203(m)(2)(B), “an employer may not keep tips received by

its employees for any purposes, including allowing managers or supervisors to keep any portion

of employees’ tips, regardless of whether or not the employer takes a tip credit.” 2



2 On March 23, 2018, Congress passed the Consolidated Appropriations Act of 2018 (CAA), which

amended Section 203(m) to add the following language: “An employer may not keep tips received
by its employees for any purposes, including allowing managers or supervisors to keep any portion
of employees’ tips, regardless of whether or not the employer takes a tip credit.” The CAA also
amended another FLSA provision – Section 216(b) – to state that “[a]ny employer who violates
section 203(m)(2)(B) of this title shall be liable to the employee or employees affected in the

                                                  10
Case 3:21-cv-00628-TJC-JRK Document 1 Filed 06/23/21 Page 11 of 13 PageID 11




       62.     During the relevant time period, Defendants enforced a restaurant-wide policy that

required Plaintiff and similarly situated Restaurant Servers and Bartenders to use the wages and

tips they received to provide unlawful kickbacks by covering costs associated with walk-outs,

breakage, and/or cash register shortages. The requirement for Plaintiff to cover these expenses

was for the employer’s benefit.

       63.     These policies that were enforced by Defendants are unlawful, but Defendants

nevertheless continued to enforce this policy, and on information and belief, still enforce this

unlawful policy to this day.

       64.     Accordingly, the wages received by Plaintiff and similarly situated individuals

were not finally and unconditionally “free and clear.”

       65.     Plaintiff and similarly situated Restaurant Servers and Bartenders are entitled to

recover the tip credit and tips that they were required to use for the employer’s benefit from March

23, 2018, through the present.

       WHEREFORE, Plaintiff, SAMANTHA RIZZOLO, respectfully requests that this

Honorable Court enter judgment in her favor and against Defendants, JOHNNY D’s BEACH BAR

& GRILL, LLC, and JOHN DAVIS, award Plaintiff: (a) recovery of tips to be paid by the

Defendants jointly and severally; (b) recovery of the tip credit taken by Defendants for hours

worked by Plaintiff to be paid by Defendants jointly and severally; (c) an equal amount of

liquidated damages to be paid by the Defendants jointly and severally; (d) all reasonable attorney’s

fees and litigation costs as permitted under the FLSA; and any and all such further relief as this

Court may deems just and reasonable under the circumstances.




amount of the sum of any tip credit taken by the employer and all such tips unlawfully kept by the
employer, and in an additional equal amount as liquidated damages.” 29 U.S.C. § 216(b).

                                                11
Case 3:21-cv-00628-TJC-JRK Document 1 Filed 06/23/21 Page 12 of 13 PageID 12




           COUNT III – FEDERAL OVERTIME VIOLATIONS – 29 U.S.C. § 207

        66.     Plaintiff hereby re-alleges and re-avers Paragraphs 1 through 48 as though set forth

fully herein.

        67.     Plaintiff and all other similarly situated individuals worked in excess of forty (40)

hours in one or more workweeks during their employment with Defendants.

        68.     Defendants violated the FLSA by failing to compensate Plaintiff and similarly

situated employees 1.5 times their regular hourly rate when they worked in excess of forty (40)

hours in a workweek.

        69.     Defendants’ violation of the FLSA is willful and/or intentional as it knew (or should

have known) of the requirements of the FLSA and failed to comply with same. Accordingly, the

applicable statute of limitations is 3 years as opposed to 2 years.

        70.     Defendants cannot demonstrate that its violations were committed in good faith and

Plaintiffs are therefore entitled to recover liquidated (double) damages.

        71.     Plaintiff was required to retain the undersigned counsel in order to prosecute these

claims and is entitled to recover reasonable attorney’s fees and costs under the FLSA.

        WHEREFORE, Plaintiff, SAMANTHA RIZZOLO, respectfully requests that this

Honorable Court enter judgment in her favor and against Defendant, JOHNNY D’s BEACH BAR

& GRILL, LLC, and award Plaintiff: (a) unpaid overtime wages to be paid by Defendants jointly

and severally; (b) an equal amount of liquidated damages to be paid by the Defendants jointly and

severally; (d) all reasonable attorney’s fees and litigation costs as permitted under the FLSA to be

paid by Defendants jointly severally; and any and all such further relief as this Court may deems

just and reasonable under the circumstances.




                                                 12
Case 3:21-cv-00628-TJC-JRK Document 1 Filed 06/23/21 Page 13 of 13 PageID 13




                                 DEMAND FOR JURY TRIAL

   Plaintiff, SAMANTHA RIZZOLO, requests and demands a trial by jury on all appropriate

claims.

          Dated this 23rd day of June 2021.

                                                   Respectfully Submitted,

                                                   USA EMPLOYMENT LAWYERS-
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                                 CERTIFICATE OF SERVICE

          I HEREBY CERTIFY that the foregoing document was filed via CM/ECF on June 23,

2021.

                                                   By: /s/ Jordan Richards
                                                   JORDAN RICHARDS, ESQUIRE
                                                   Florida Bar No. 108372

                                        SERVICE LIST:




                                              13
